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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

IN THE MATTER OF:
                                                  Chapter 11
AUBURN FOUNDRY, INC
                                                  BK Case No. 04-10427
        Debtor.

                                              ORDER

                   At Fort Wayne, Indiana, on ____________________________________.

                   The Debtor's Motion for Order Permitting Debtor to File Second Amended

Disclosure Statement With Notice to Prior Objecting Parties (the "Movant") is GRANTED, it

appearing to the Court that the Motion is made for good cause.

                   Accordingly, IT IS HEREBY ORDERED that the Motion is GRANTED. Debtor

shall file a Second Amended Disclosure Statement and related Plan with a revised date on or

before April 9, 2005, after the filing of Statements of No Objection by the Objecting Parties (as

that term is defined in the Motion) and the Senior Lenders.

                   SO ORDERED.

                                               ______________________________________
                                               Judge, United States Bankruptcy Court




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